Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 1 of 11




             EXHIBIT 18
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 2 of 11



 1   (Stipulating parties listed on signature page)

 2                                  UNITED STATES DISTRICT COURT
 3                               NORTHERN DISTRICT OF CALIFORNIA
 4
                                         SAN FRANCISCO DIVISION
 5

 6
      IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
 7    ANTITRUST LITIGATION,                           MDL No. 1917

 8
      This Document Relates to:                       STIPULATION AND [PROPOSED]
 9                                                    ORDER REGARDING PERSONAL
     Sharp Electronics Corp., et al. v. Hitachi       JURISDICTION OVER THOMSON SA
10   Ltd., etal.,No. 13-cv-1173;
11                                                    Judge: Hon. Samuel Conti
      Eleciro graph Systems, Inc. et al. v.
12    Technicolor SA, etal., No. 13-cv-05724;

13    Siegel v. Technicolor SA, et al., No. 1 3-cv-
      0526 1;
14
      Best Buy Co., Inc., et al. v. Technicolor SA,
15
      et al., No. I 3-cv-05 264;
16
      Target Corp. v. Technicolor SA, ci al., No.
17    13-cv- 05686;

18    Interbond Corporation qfAmerica v.
      Technicolor SA, ci al., No. I 3-cv-05727;
19
20   Office Depot, Inc. v. Technicolor SA, et al.,
     No. 13-cv-05726;
21
      Costco Wholesale Corporation v.
22    Technicolor SA, etal., No. 13-cv-05723;
23
     P. C. Richard & Son Long Island
24   Corporation, et al. v. Technicolor SA, ci al.,
     No. 13-cv-05725;
25
     Schultze Agency Services, LLC v.
26   Technicolor SA, Ltd., etal., No. 13-cv-
27   05668;

28   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13 -cv-05 262;
     STIPULATION AND [PROPOSED] ORDER RE                               No. 07-5944-SC; MDL No. 1917
     mOM SON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 3 of 11



 1
      Tech Data Corp., et al. v. Hitachi, Ltd., et
 2    al., No. 13-cv-00 157;
 3
      Crago, et al. v. Mitsubishi Electric Corp.,
 4    No. 14-cv-02058.

 5
              Direct Action Plaintiffs Electrograph Systems, Inc.; Electrograph Technologies, Corp.;
 6
      Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Best Buy Co., Inc.;
 7
      Best Buy Purchasing LLC; Best Buy Enterprise Services, Inc.; Best Buy Stores, L.P.;
 8
      BestBuy.com , L.L.C.; Magnolia Hi-Fi, Inc.; Interbond Corporation of America; Office Depot,
 9
      Inc.; Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
10
      Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
11
      behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
12
      Corp.; and Target Corp.; Sharp Electronics Corporation and Sharp Electronics Manufacturing
13
      Company of America, Inc., (collectively, "Sharp"); Tech Data Corporation and Tech Data
14
      Product Management, Inc.; ViewSonic Corporation; (all collectively the "DAPs"), and Thomson
15
      S.A. (n.k.a. Technicolor S.A.) have conferred by and through their counsel and, subject to the
16
      Court’s approval, HEREBY STIPULATE AS FOLLOWS:
17
              WHEREAS, there is pending in the United States District Court for the Northern District
18
      of California a multidistrict consolidated proceeding comprised of actions brought on behalf of
19
      purported purchasers of cathode ray tubes ("CRT") and CRT products, captioned as In re:
20
      Cathode Ray Tube (CRT) Antitrust Litigation,      Case No. 3:07-cv-05944 SC (MDL No. 1917) (the
21
      "MDL Proceedings");
22
             WHEREAS, Sharp filed on March 15, 2013, a Complaint naming Thomson SA as a
23
      Defendant (Dkt. No. 1, Case No. 3:13-cv-01173 SC), on October 28, 2013, a First Amended
24
      Complaint also naming Thomson SA as a Defendant (Dkt. No. 2030), and on April 2, 2014, a
25
      Second Amended Complaint also naming Thomson SA as a Defendant, now pending in this
26
      MDL (Dkt. No. 2520);
27
             WHEREAS, the DAPs have filed Complaints or Amended Complaints, which are now
28

     STIPULATION AND [PROPOSED] ORDER RE                                       No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
         Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 4 of 11



          pending in this MDL, naming Thomson SA as a Defendant;

 2               WHEREAS, on July 3, 2013, Thomson SA filed a Notice of Motion and Motion to

 3        Dismiss Sharp’s Complaint for Lack of Personal Jurisdiction (Dkt. No. 1765);

 4               WHEREAS, on November 25, 2013, Thomson SA filed a Notice of Motion and Motion to

 5        Dismiss Sharp’s First Amended Complaint (Dkt. No. 2235);

 6               WHEREAS, on January 27, 2014, Thomson SA filed a Notice of Motion and Motion to

 7        Dismiss the DAPs’ Complaints (Dkt. No. 2355);

 8               WHEREAS, on February 7, 2014, Thomson SA filed a Notice of Motion and Motion to

 9        Strike with Prejudice Tech Data’s First Amended Complaint (Dkt. No. 2373);

10               WHEREAS, on March 13, 2014, the Court issued an Order granting in part and denying

11       in part Thomson SA’s Motions to Dismiss Sharp’s First Amended Complaint and the DAPs’

12        Complaints or First Amended Complaints, finding that it has specific personal jurisdiction over

13       Thomson SA (Dkt. No. 2440);

14               WHEREAS, on March 28, 2014, the Court issued an Order granting in part and denying

15       in part Thomson SA’ Motion to Strike with Prejudice Tech Data’s First Amended Complaint,

16       dismissing Tech Data’s state-law claims but denying the motions with respect to its federal

17       claims, and finding that it has specific personal jurisdiction over Thomson SA (Dkt. No. 2507);

18               WHEREAS, Thomson SA has agreed that it will not contest personal jurisdiction, or resist

19       recognition and enforcement of any judgment in this matter in any forum in the world by

20       asserting the lack of jurisdiction of this Court, in return for not having to produce documents

21       solely related to personal jurisdiction in the United States (whether compelled through the Hague

22       Evidence Convention in compliance with the French Blocking Statute or otherwise);

23 NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as

24       follows:

25           1. Thomson SA has appeared in this action and admits that this Court has personal

26               jurisdiction over Thomson SA in the United States for this action;

27           2. Thomson SA admits that it had sufficient minimum contacts with the United States

28   1           between at least 1995 and 2007 for it to be subject to specific personal jurisdiction in the

         STIPULATION AND [PROPOSED] ORDER RE                                     No. 07-5944-SC; MDL No. 1917
         THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 5 of 11



 1             United States;

 2       3. Thomson SA admits that there is a nexus and connection between this dispute and the
 3             United States; and

 4       4. Thomson SA further admits that Plaintiffs’ choice of forum in the United States is
 5             appropriate and not fraudulent.

 6
 7    PURSUANT TO STIPULATION, IT IS SO ORDERED.

 8
 9    Dated:
                                                                 Hon. Samuel Conti
10                                                           United States District Judge
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     STIPULATION AND [PROPOSED] ORDER RE                              No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 6 of 11



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     STIPULATION AND [PROPOSED] ORDER RE                           No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 7 of 11



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     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 8 of 11




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     STIPULATION AND [PROPOSED] ORDER RE                             No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 9 of 11



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     STIPULATION AND [PROPOSED] ORDER RE                            No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 10 of 11




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     STIPULATION AND [PROPOSED] ORDER RE                             No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
     Case 4:07-cv-05944-JST Document 3214-18 Filed 12/18/14 Page 11 of 11



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20
21           Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
22    document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER RE                                   No. 07-5944-SC; MDL No. 1917
     THOMSON SA PERSONAL JURISDICTION
